    Case 2:14-cv-00601-MHT-JTA Document 2973 Filed 09/23/20 Page 1 of 2


  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,              )
                                    )
     Plaintiffs,                    )
                                    )     CIVIL ACTION NO.
     v.                             )       2:14cv601-MHT
                                    )            (WO)
JEFFERSON S. DUNN, in his           )
official capacity as                )
Commissioner of                     )
the Alabama Department of           )
Corrections, et al.,                )
                                    )
     Defendants.                    )

                                  ORDER

    The court previously ordered the defendants to clarify

what they intended “duplicative, inconsistent, and/or moot”

to mean as to each provision referenced in their motion to

terminate.     See Order (doc. no. 2960).                The court also

ordered the plaintiffs to respond to the defendants’ filing

and identify which, if any, of the provisions they agreed

should be terminated.       Id.

    After    the    defendants      submitted      their     filing,      the

plaintiffs objected on the record during the September 17,

2020, conference call that it did not follow the court’s

instructions and requested additional time to draft their
      Case 2:14-cv-00601-MHT-JTA Document 2973 Filed 09/23/20 Page 2 of 2


response.     See Pls.’ Summary of Arguments Presented in Court

on Sept. 17, 2020 (doc. no. 2971) at 5-6. The court continued

the     deadline     for     the     plaintiffs’        response      pending

consideration of this argument.              See Order (doc. no. 2966).

      The court has reviewed the defendants’ filing and finds

that,    overall,     it    provides       sufficient    detail     for     the

plaintiffs      to    understand       and    respond     to    defendants’

arguments.

      Accordingly, it is ORDERED that the plaintiffs shall

submit their response to the court by 12:00 p.m. on September

25, 2020.     If the plaintiffs believe that it is impossible

for them to respond to the defendants’ argument regarding

any particular stipulation, they should explain in detail in

their response why they are unable to do so.

      DONE, this the 23rd day of September, 2020.

                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE




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